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                         UNITED STATES DISTRICT COURT
                        FOR THE District of New Jersey [LIVE]
                    U.S. District Court for the District of New Jersey

 SCANNING TECHNOLOGIES
 INNOVATIONS LLC
                                             Plaintiff,
 v.                                                       Case No.:
                                                          2:22−cv−01157−SDW−JSA
                                                          Judge Susan D. Wigenton
 PEGASUS U.S.A. LLC
                                             Defendant.




           Notice Of Call For Dismissal Pursuant to Local Civil Rule 41.1(a)

    Please take notice that the above−captioned action, having been pending for more than
 90 days, without any proceeding having been taken therein, will be called at the Martin
 Luther King Building and U.S. Courthouse, 50 Walnut Street, Newark, NJ before Judge
 Susan D. Wigenton on 11/17/2022 or as soon thereafter as the same may be reached, and
 unless sufficient reason to the contrary is shown, the case will be dismissed for lack of
 prosecution in accordance with Local Civil Rule 41.1(a).
    NO APPEARANCE IS REQUIRED. Counsel of record or unrepresented parties may
 show good cause by affidavit setting forth what good faith efforts to prosecute this action
 have been made and what further efforts are intended. If said affidavit has not been filed
 before the return date, counsel of record or unrepresented parties may be required to
 appear before the Court, to show good cause why this action should not be dismissed for
 lack of prosecution.


                                                Very truly yours,
                                                William T. Walsh, Clerk
                                                By Deputy Clerk, cds


cc Plaintiff:
SCANNING TECHNOLOGIES INNOVATIONS LLC




If applicable, counsel of record is directed to serve this notice to their client, whose street
and post office address do not appear in the complaint as directed by Local Civil Rule 10.1,
and to provide proof of service to the Court.
